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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


  MAGLULA, LTD.,

                         Plaintiff,                  Civil Action No. 1:19-cv-01570-LO-IDD

                 v.

  AMAZON.COM, INC. and AMAZON.COM
  SERVICES, INC.,
                  Defendants.



                      JOINT STIPULATION AND ORDER OF DISMISSAL

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all of Maglula Ltd.’s claims

 in the above-captioned action are dismissed with prejudice.

        Each party shall bear its own costs, expenses, and attorneys’ fees.

 Dated: December 3, 2021




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  It is so ORDERED:

  Dated: _____________________________       By:____________________________________
                                             Honorable Liam O’Grady
                                             United States District Judge




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 3, 2021, I electronically filed the foregoing JOINT

 STIPULATION AND ORDER OF DISMISSAL with the Clerk of the Court using the CM/ECF

 system, which will send a notification of such filing (NEF) to all counsel of record.


                                                   /s/ Jeffrey A. Berkowitz
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